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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE


UNITED STATES OF AMERICA                      :
                                              :       Criminal No. 1:15-mj-00065-JHR
               v.                             :
                                              :
DUSHKO VENELINOV VULCHEV                      :


        UNOPPOSED MOTION FOR PRIVATE COMPETENCY EVALUATION

       NOW COMES, counsel for the defendant, and hereby moves the Court pursuant to Title

18, United States Code, § 4241, for a psychological examination and subsequent hearing to

determine whether the defendant, is competent to proceed with necessary court hearings and

assist in his own defense. Counsel has conferred with Assistant United States Attorney Andrew

McCormack regarding the relief sought hereby and Mr. McCormack indicates that the

government has no objection thereto.

       Counsel believes that there is reasonable cause to believe that the defendant "may be

presently suffering from a mental disease or defect rendering him mentally incompetent to the

extent that he is unable to understand the nature and consequences of the proceedings against him

or to assist properly in his defense.” 18 U.S.C. §§ 4241(a).

       Nothing in Title 18, United States Code, §§ 4241(b) and 4247(b), requires that the

examination be conducted by an employee of the Bureau of Prisons. Rather, Section 4247(b)

simply refers to a “suitable facility” and that “each examiner shall be designated by the court.”

Therefore, Defendant requests the Court to enter an order directing that the facility to be used for

purposes of the psychological evaluation be the Penobscot County Jail or the facility at which the



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defendant is detained at the time of examination and that Diane A. Tennies, Ph.D., LADC, be

designated as the licensed professional to perform the noted examination.

                                                    Respectfully submitted,

Dated: April 7, 2015                                /s/ James S. Nixon
                                                    James S. Nixon, Esquire
                                                    Assistant Federal Defender
                                                    Office of the Federal Defender
                                                    23 Water Street, Suite 206
                                                    Bangor, Maine 04401
                                                    Attorney for Defendant




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                            UNITED STATES DISTRICT COURT
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UNITED STATES OF AMERICA                     :
                                             :       Criminal No. 1:15-mj-00065-JHR
               v.                            :
                                             :
DUSHKO VENELINOV VULCHEV                     :



                                CERTIFICATE OF SERVICE

         I, James S. Nixon, Esquire, Assistant Federal Defender for the District of Maine, hereby
certify that on April 7, 2015, I electronically filed the Unopposed Motion for Private Competency
Evaluation with the Court via the CM/ECF electronic filing system which will send notification
of such filing via said system electronically on the 7th day of April, 2015 to the following
persons:

       Andrew McCormack, Assistant U.S. Attorney
       U.S. DEPARTMENT OF JUSTICE
       202 Harlow Street, Rm 111
       Bangor, Maine 04401
       Andrew.McCormack@usdoj.gov

I further certify that on April 7, 2015, I served a copy of the foregoing document on the following
parties or their counsel of record by U.S. mail:

       Jennifer LaFlamme, Probation Officer
       U.S. Probation & Pretrial Services Office
       202 Harlow Street, Rm 209
       Bangor, ME 04401



Dated: April 7, 2015                         /s/ James S. Nixon______________________
                                             James S. Nixon, Esquire
                                             Assistant Federal Defender
                                             Office of the Federal Defender
                                             23 Water Street, Suite 206
                                             Bangor, Maine 04401
                                             Attorney for Defendant


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